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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 Thomas R. West
                                                Civil No. : 3:10-cv-10-01256-JPG
 Plaintiff

 v.                                             Jury Trial Demanded

 Estebita Motors, et al

 Defendants

                 MOTION IN COMPLIANCE WITH ORDER IN DKT. 120

TO THE HONORABLE COURT:

      NOW COMES PLAINTIFF through the undersigned counsel land most

respectfully STATES AND PRAYS as follows:

   1. In docket no. 120 the Court ordered us to file the certificate of service upon

      DTOP and Departamento de Hacienda the service of its order.

   2. We herein include as EXHIBIT 1, with page 1 the evidence of the service on

      Hacienda and in page 2 the evidence of service on DTOP.

      WHEREFORE we respectfully request this most Honorable Court to consider

      the order complied with in its entirety.



NOTICE: I hereby certify that I have filed the foregoing with the CM/ECF system of

this court which will notify the parties of interest in this action.




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RESPECTFULLY SUBMITTED on this 13th day of February, 2014, in San Juan, Puerto

Rico.



                                                           S/ Julie Soderlund
                                                               Julie Soderlund
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